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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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                                                          COMPLAINT
 UNITED STATES OF AMERICA
                                                          M.No. - - - - - -
         - against -                                      (18 U.S.C. § 2252(a)(2))

 WILLIAM GACE,


                        Defendant.                   MJ 18-
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EASTERN DISTRICT OF NEW YORK, SS.:

               CINDY WOLFF, being duly sworn, deposes and says that she is a Special Agent

with the Federal Bureau of Investigation ("FBI"), duly appointed according to law and acting as

such.

               In or about and between February 2016 and September 2018, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

WILLIAM GACE did knowingly receive visual depictions, the production of such visual

depictions having involved the use of one or more minors engaging in sexually explicit conduct

and such visual depiction was of such conduct, using any means or facility of interstate or foreign

commerce or that has been mailed, or has been shipped or transported in or affecting interstate or

foreign commerce or which contains materials which have been mailed or so shipped or

transported, by any means including by computer.

               (Title 18, United States Code, Section 2252(a)(2)).
                The source of your deponent's infonnation and the grounds for his belief are as

follows: 1

                1.      I have been employed as a Special Agent with the FBI since October

2005, and am currently assigned to the Long Island Child Exploitation Task Force. I have

gained expertise in the conduct of child pornography and exploitation investigations through

training in seminars, classes, and daily work related to conducting these types of investigations,

including the execution of multiple search warrants relating to child pornography offenses and

the subsequent prosecution of offenders.

                16.     On or about July 23, 2018, a lead was received stemming from an FBI

investigation regarding the trading of child pornography in group chats on WEBSITE A 2 •

One of the users identified during the investigation, "MoistMargaret," uploaded four images

to a chat on or about February 8, 2016, at least one of which contained child pornography.

The WEBSITE A profile "MoistMargaret" was associated with an email address known to

investigators and Internet Protocol ("IP") address 24.47.229.175.            An administrative

subpoena to Optimum Cable, the provider of the aforementioned IP address, determined that

the IP was resolved to the residence of the defendant WILLIAM GACE in Farmingdale,

New York.




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    Because this affidavit is submitted only to illustrate that probable cause exists to believe that the
defendant committed certain crimes, all the facts known to me as a result of my investigation have not been
included.
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   The name of "WEBSITE A" is known in the child pornography community and public disclosure of
the website name would likely cause individuals associated with the defendant GACE to destroy or
otherwise eliminate evidence of criminal activity involving child pornography.
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              17.     On or about September 10, 2018, an FBI Agent and an FBI Task Force

Officer (TFO) interviewed the residents at the residence in Farmingdale, New York. During

the course of those interviews, the defendant WILLIAM GACE stated that he has received

child pornography on WEBSITE A and message boards. He stated, in sum and substance,

that the kids in the pornography are "all ages." GACE also stated that he deleted child

pornography he had on his phone when the agents came to the residence.

              18.     The defendant WILLIAM GACE gave the agents consent to search his

phone and invited them into his home. When the agents pointed out that the phone did not

contain an SD card, GACE furnished an SD card and consented to a search of the same.

The SD card GACE provided, however, did not appear to be the SD card that was used in his

phone. GACE stated that the SD card used to contain child pornography, but ~at he had
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recently formatted, or erased, the card. GACE did not _give consent for#the .se~ch: of.any.··-..
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other of the multiple computer devices that agents saw in his bedroom.

              19.     A forensic examination of the phone and SD card was conducted. Still

images from child pornography videos were recovered from the defendant WILLIAM

GACE's phone. In addition, at least one image of child pornography was recovered from

the deleted space on the SD card. Based on the foregoing, on October 9, 2018, the

Honorable A. Kathleen Tomlinson, United States Magistrate Judge for the Eastern District of

New York signed a warrant for the search ofGACE's residence at 6 West Walnut Street,

Farmingdale, New York 11735 (18-MJ-953) (the "Search Warrant").

              20.     On October 12, 2018, law enforcement agents executed the Search

Warrant. At that time, the defendant WILLIAM GACE was advised of and waived his
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Miranda rights. In a subsequent interview with law enforcement, GACE provided a written

statement. Therein, he aclmowledged that he had deleted child pornography files from his

phone, which depicted images of children approximately ten-years <?ld. He also

acknowledged having previously downloaded child pornography.

              WHEREFORE, I respectfully request that the defendant WILLIAM GACE be dealt

with according to law.




Sworn to before me this
12th day of October, 2018



HONO     LEGARYR. BROWN
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




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